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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

KATHLEEN TAYLOR, individually and on                 )
behalf of all others similarly situated,             )      Case No. 1:17-cv-06374
                                                     )
               Plaintiff,                            )      Judge: Gary Feinerman
                                                     )
v.                                                   )      Magistrate Judge: Jeffrey T. Gilbert
                                                     )
STATE COLLECTION SERVICE, INC.,                      )
                                                     )
               Defendant.                            )


 DEFENDANT STATE COLLECTION SERVICE INC.’S AMENDED AFFIRMATIVE
               DEFENSES TO PLAINTIFF’S COMPLAINT

       Pursuant to Rule 8(c) of the Federal Rules of Civil Procedure, Defendant asserts the

following defenses to Plaintiff's Complaint and reserves the right to amend or supplement these

defenses as further information becomes available through discovery.

                               FIRST AFFIRMATIVE DEFENSE

       For its First Affirmative Defense, Defendant states that Plaintiff has not incurred an

injury in fact, and Plaintiff does not therefore have standing under Article III of the United States

Constitution to bring the instant claims.

                             SECOND AFFIRMATIVE DEFENSE

       For its Second Affirmative Defense, Plaintiff fails to state a claim and/or cause of action

upon which relief may be granted and Plaintiff's claims are barred in whole or in part because

Plaintiff fails to state claims upon which relief may be granted.

                              THIRD AFFIRMATIVE DEFENSE

       For its Third Affirmative Defense, Plaintiff's claims are barred or diminished due to

Plaintiff's failure to mitigate damages.




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                             FOURTH AFFIRMATIVE DEFENSE

        For its Fourth Affirmative Defense, to the extent that any violation of the TCPA

occurred, which Defendant denies, it resulted from good faith reliance upon incorrect

information offered by other persons or entities other than an agent, servant or employee of

Defendant. See Chyba v. First Financial Asset Management, (S.D. Cal. 2013); Danehy v. Time

Warner Cable Enterprise, LLC, 2015 WL 5534285 (E.D.N.C. 2015).

                               FIFTH AFFIRMATIVE DEFENSE

        For its Fifth Affirmative Defense, Defendant states that it had consent to call Plaintiff

under the TCPA.

        WHEREFORE, Defendant, STATE COLLECTION SERVICE, INC. respectfully

requests that judgment be entered in its favor and against Plaintiff, and that this Court enter such

further relief as is just, necessary and proper.

                                                       Respectfully submitted,

                                                       HINSHAW & CULBERTSON LLP


                                                       /s/ Louis J. Manetti, Jr.
                                                       Louis J. Manetti, Jr.


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                                CERTIFICATE OF SERVICE

         I hereby certify that on April 20, a copy of Defendant's Amended Affirmative Defenses
to Plaintiff's Complaint was filed electronically. Service of this filing will be made on all ECF-
registered counsel by operation of the Court's electronic filing system. Parties may access this
filing through the Court's system.

                                                    By:     /s/ Louis J. Manetti, Jr.
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